                    Case: 1:19-cv-01686 Document #: 8 Filed: 03/20/19 Page 1 of 2 PageID #:65

AO 440 (Rev. 05/00) Summons in a Civil Action



                                           NI




CHARLES F. GILBERT and SANDRA D.
GILBERT
                                                                CASE NUMBER:       1: 19-cv-01686
                                V.                              ASSIGNED JUDGE:
                                                                                   Hon. John Robert Blakey
 BMO HARRIS, N.A.: NATIONSTAR MORTGAGE LLC. D/8/A MR. COOPER:
 AMERICAN HONDA FINANCE CORPORATION: FORD MOTOR CREDIT
 COMPANY LLC. D/B/A LINCOLN AUTOMOTIVE FINANCIAL SERVICES:
                                                                DESIGNATED
 TAMMAC HOLDINGS CORPORATION. D/8/A TAMMA( FINANCIAL: WELLS
 FARGO BANK. N.A.: TRANSUNION. LLC: and EQUIFAX INFORiv!ATTON
                                                                MAGISTRATEJUDGE:   Hon. Mary M. Rowland
 SERVICl:.5. LLC




                    TO: (Name and address of Defendant)

                  AMERICAN HONDA FINANCE CORPORATION
                  c/o REGISTERED AGENT
                  C T CORPORATION SYSTEM
                  208 SO LASALLE ST, SUITE 814
                  CHICAGO, IL 60604

          YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF'S ATTORNEY (name and address)

                 Majdi Y. Hijazin
                 Sulaiman Law Group, Ltd.
                 2500 South Highland A venue, Suite 200
                 Lombard, IL 60148



                                                                               21
an answer to the complaint which is herewith served upon you,        ______ __ days after service of this
                                                                                    -,-
summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for
the relief demanded in the complaint. You must also file your answer with the Clerk of th.is Court within a reasonable
period of time after service.




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                                                                                      arch 11, 2019
                  Case: 1:19-cv-01686 Document #: 8 Filed: 03/20/19 Page 2 of 2 PageID #:66


AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 1 :19-cv-01686

                                                           PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I))

           This summons for (name of individual and title, ifany)       Charles & Sandra Gilbert v American Honda Finance Corp.
 was received by me on (date)                     03/11/2019

           0 I personally served the summons on the individual at (place) 208 S. LaSalle, Suite 814, Chicago, IL 60604
                                                                                 on (date)                             ; or

           □   I left the summons at the individual's residence or usual place of abode with {name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual's last known address; or

           J r served the summons on (name ofindividual)             Derrick Hackett                                            , who is
            designated by law to accept service of process on behalf of (name oforganization)

          -------------'-------------
          American Honda Finance Corp. on (date)                                                   03/19/2019          ; or

           □   I returned the summons unexecuted because                                                                             ; or

           0 Other {specify):




           My fees are$                            for travel and$                     for services, for a total of$          0.00


           I declare under penalty of perjury that this information is true.


 Date:          03/19/2019


                                                                                Michael Costanza - Process Server
                                                                                          Printed name and title

                                                                                R.O.S. Consulting, Inc. -117-001339
                                                                                 23900 W. Industrial Drive, Suite 3
                                                                                        Plainfield, IL 60585
                                                                                            -- -------
                                                                                             Server's address

 Additional in formation regarding attempted service, etc:
